           8:04-cr-00194-LSC-MDN               Doc # 97       Filed: 08/21/06         Page 1 of 1 - Page ID # 362
                                        UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEBRASKA
Denise M. Lucks                                  OFFICE OF THE CLERK
Clerk of Court                             Roman L. Hruska United States Courthouse                                    Lincoln Office:
                                                  111 South 18th Plaza, Suite 1152                                    P. O. Box 83468
Therese M. Bollerup                                  Omaha, NE 68102-1322                                    Lincoln, NE 68501-3468
Chief Deputy Clerk                                        402-661-7350                                                   402-437-5225
                                                        Fax: 402-661-7387                                           Fax 402-437-5651




          TO:              The Honorable Laurie Smith Camp

          FROM:            Clerk, U.S. District Court
                           Mary Roundtree

          DATE:            August 21, 2006

          SUBJECT:         8:04cr194 United States of America v. Matthew L. Hanson

          A party, who has already been permitted to proceed in forma pauperis or who is financially unable to obtain
          adequate defense in a criminal case, has filed a Notice of Appeal. Pursuant to the third paragraph of FRAP
          24(a), a party may proceed on appeal in forma pauperis without further authorization unless the district judge
          certifies that the appeal is not taken in good faith or finds that the party is otherwise not entitled to proceed
          on appeal in forma pauperis. The district judge shall state in writing the reasons for such a certification or
          finding.

          In order for the Clerk’s office to process this appeal, please advise our office how you intend to proceed:

                   X       No order will be entered in this direct criminal appeal, and the party is permitted to
                           proceed on appeal in forma pauperis.
                           An order will be entered finding that the party is not entitled to proceed in forma
                           pauperis.
                           An order will be entered, and the party is permitted to proceed on appeal in forma
                           pauperis.
                           An order will be entered in this § 2254 or § 2255 case regarding Certificate of
                           Appealability.

          Dated this 21st day of August, 2006.

                                                                  s/Laurie Smith Camp
                                                                  United States District Judge


                                    Additional Requirement for State Habeas or 2255 Cases

          Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the district judge who
          rendered the judgment shall either issue a certificate of appealability or state the reasons why such a
          certificate should not be issued.

          Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court rules on the
          in forma pauperis status and the certificate of appealability.


          Last Update: 07/10/2003                                                 k:\clerk\proc\appeals\forms\habnotifp.wpd
